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                                                                                 09-27-2018                         2 /2




    INFORMATION -STATE'S COPY
    NAME: MARK DAVID BROWN

    MG. NO. 393046        JN: 1852588-1           SID: 514526           COUNTY COURT CASE NO: 577195

    OFFENSE CODE/ CHARGE: 530009 - INTERFERE W/DUTIES PUB SERVANT


    IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

            Now comes the undersigned Assistant Criminal District Attorney of Bexar County, Texas, upon the
    affidavit of affiant, hereto attached and made a part thereof, and in behalf of said State presents In the County
    Court at Law No. 12        of Bexar County, Texas, that heretofore, to-wit: in said County of Bexar and State of
    Texas, and before the making and filing of this information,

     on or about the 14th Day of June, 2018, MARK DAVID BROWN did then and there, while J Wells, a peace
    officer was performing a duty and exercising authority imposed and granted by law, namely: DETAINING A
    SUSPECT, with criminal negligence interrupt t disrupt, Impede and interfere with J Wells by FAILING TO
    FOLLOW INSTRUCTIONS TO LEAVE THE AREA SURROUNDING THE OFFICER'S PERFORMANCE OF
    DUTY AND EXERCISE OF AUTHORITY;


    against the peace and dignity of the �tate.


                                                                  ORIGINAL SIGNED
                                                                 Assistant Criminal District Attorney
                                                                 Bexar County, Texas




                                                             EXHIBIT C
                  Case 5:18-cv-00680-FB-RBF Document 48-3 Filed 09/28/18 Page 2 of 2
2103350544          Mlsd                                                          02:52:29 p.m.   09-27-2018        1 /2




    INFORMATION - STATE'S COPY
    NAME: MARK DAVID BROWN

    MG. NO. 393045         JN: 1852587-1          SID: 514526           COUNTY COURT CASE NO: 577193

    OFFENSE CODE / CHARGE: 480105 - RESIST ARR-SEARCH-TRANSPORTATION


    IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

             Now comes the undersigned Assistant Criminal District Attorney of Bexar County, Texas, upon the
    affidavit of affiant, hereto attached and made a part thereof, and in behalf of said State presents In the County
    Court at Law No. 12        of Bexar County, Texas, that heretofore, to-wit in said County of Bexar and State of
    Texas, and before the making and filing of this Information,

     on or about the 14th Day of June, 2018, MARK DAVID BROWN, hereinafter referred to as defendant, did
    intentionally prevent and obstruct a person, namely: J WELLS, hereinafter referred to as complainant, whom the
    defendant knew to be a Peace Officer, from effecting an arrest, search and transportation of THE DEFENDANT
    by using force against said complainant, to-wit: STRIKING THE COMPLAINANT WITH THE FOOT OF THE
    DEFENDANT;


    against the peace and dignity of the State.

                                                                   ORIGINAL SIGNED.
                                                                 Assistant Criminal District Attorney
                                                                 Bexar County, Texas
